
724 S.E.2d 928 (2012)
HEST TECHNOLOGIES, INC., et al
v.
STATE of NC, et al.
No. 169A11-2.
Supreme Court of North Carolina.
May 16, 2012.
John F. Maddrey, Solicitor General, for State of N.C., et al.
Michael A. Grace, Winston-Salem, for International Internet Technologies, LLC.
Adam Charnes, Winston-Salem, for International Internet Technologies, LLC.
Richard A. Coughlin, Greensboro, for Hest Technologies, Inc.
Elizabeth Brooks Scherer, Raleigh, for Hest Technologies, Inc.
The following order has been entered on the motion filed on the 16th of May 2012 by Defendants:
"Motion Allowed by order of the Court in conference, this the 16th of May 2012."
Defendants shall have up to and including the 15th day of June 2012 to file and serve his/her brief with this Court.
